             Case 3:21-cr-00274-CRB Document 68 Filed 09/21/22 Page 1 of 16




 1 STEPHANIE M. HINDS (CABN 154284)
   United States Attorney
 2
   THOMAS A. COLTHURST (CABN 99493)
 3 Chief, Criminal Division

 4 FRANK J. RIEBLI (CABN 221152)
   ERIC CHENG (CABN 274118)
 5 Assistant United States Attorneys
          450 Golden Gate Avenue, Box 36055
 6        San Francisco, California 94102-3495
          Telephone: (415) 436-7200
 7        FAX: (415) 436-7234
          Frank.Riebli@usdoj.gov
 8        Eric.Cheng@usdoj.gov

 9 Attorneys for United States of America

10                                UNITED STATES DISTRICT COURT

11                              NORTHERN DISTRICT OF CALIFORNIA

12                                    SAN FRANCISCO DIVISION

13
     UNITED STATES OF AMERICA,                   )   Case No. 21-CR-274 CRB
14                                               )
            Plaintiff,                           )   UNITED STATES’ SENTENCING
15                                               )   MEMORANDUM
       v.                                        )
16                                               )   Date: September 28, 2022
     IAN BENJAMIN ROGERS,                        )   Time: 10:00 a.m.
17                                               )
            Defendant.                           )
18                                               )

19

20

21

22

23

24

25

26

27

28

     U.S. SENTENCING MEMORANDUM                      1
     21-CR-274 CRB
              Case 3:21-cr-00274-CRB Document 68 Filed 09/21/22 Page 2 of 16




 1 I.       INTRODUCTION

 2          After the November 2020 Presidential election, defendant Ian ROGERS and his co-defendant

 3 Jarrod Copeland began to plan a series of violent attacks against targets associated with the political

 4 party they opposed. Although they understood that they would be viewed as domestic terrorists for their

 5 conduct, they hoped that their violent acts might start a movement to overthrow the government, or at

 6 least strike back at the government for what they viewed as the unfair treatment of political opponents

 7 like themselves.

 8          So ROGERS and Copeland developed a plan to attack the Democratic Party headquarters in

 9 Sacramento and burn it to the ground, and then move on to other targets (including two social media

10 companies they despised). By the end of November, they had worked out many of the details of the

11 plan. The January 6, 2021 attack on the Capitol energized them, and they waited to see whether the

12 inauguration on January 20, 2021 would go forward before initiating their attacks.

13          Fortunately, the FBI and the Napa County Sheriff executed search warrants at ROGERS’s home

14 and business, and arrested him just five days prior to the inauguration. In the course of that search, they

15 seized almost 50 firearms, including four fully automatic machine guns, approximately 15,000 rounds of

16 ammunition, and five fully assembled pipe bombs.

17          The government charged ROGERS with conspiring to destroy a building—the Democratic Party

18 headquarters in Sacramento—by fire or explosive (in violation of 18 U.S.C. §§ 844(i) and (n)),
19 possession of machine guns (in violation of 18 U.S.C. § 922(o)), and possession of unregistered

20 explosive devices (the pipe bombs) (in violation of 26 U.S.C. § 5861(d)). On May 27, 2022, ROGERS

21 pleaded guilty to the conspiracy charge, one of the machinegun charges, and the pipe bomb charge in a

22 binding plea agreement under Federal Rule of Criminal Procedure 11(c)(1)(C).

23          ROGERS’s binding plea agreement set forth a sentencing range of 84–108 months (7–9 years) of

24 imprisonment. For the reasons below, the government recommends the high end of that agreed-upon

25 range—a 108-month (9-year) sentence of imprisonment, followed by three years of supervised release.

26 Probation also recommends that the Court sentence ROGERS to the same: 108 months of imprisonment,

27 within the parties’ agreement on the sentencing range. See Presentence Investigation Report (Dkt. No.

28 66) (“PSR”).

     U.S. SENTENCING MEMORANDUM                          2
     21-CR-274 CRB
             Case 3:21-cr-00274-CRB Document 68 Filed 09/21/22 Page 3 of 16




 1 II.      BACKGROUND

 2          A.     Factual Background

 3          Before his arrest, ROGERS operated an auto repair shop in Napa, California. PSR ¶ 79. He also

 4 lifted weights, abused steroids, and amassed an arsenal of weapons and home-made explosives. PSR

 5 ¶¶ 9–11; 23. After the 2020 Presidential election, ROGERS was upset with the outcome and began

 6 planning for violent attacks against the Democratic Party in order to, in essence, scare them out of

 7 political engagement. PSR ¶¶ 12–13. The planning began on November 25, 2020. Id. Though

 8 ROGERS and Copeland used regular SMS text messages for many of their communications, they used

 9 an encrypted messaging application for this exchange:

10
                   Rogers         Ok bro we need to hit the enemy in the mouth
11                 Copeland       Yeah so we punch soros
                   Rogers         I think right now we attack democrats
12                 Rogers         They’re offices etc
                   Rogers         Molotov cocktails and gasoline
13                 Copeland       We need more people bro
                   Copeland       Gonna be hard
14
                   ***
15                 Rogers         Any thoughts on our first target?
                   Rogers         I think we should hit the Governors Mansion its empty no casualties
16                 Rogers         Would send a message
                   Copeland       That’s the best target I think too
17
                   ***
18                 Rogers         Any idea how to take it down? Either fire bomb or full auto ak fire
                   Rogers         I’m thinking full auto fire with fire will send the message we want
19                 Rogers         We shoot it up and burn it down , WOLVERINES
                   Copeland       I think we don’t use bullets just burn it down
20                 Copeland       No ammo

21 Id. They continued the discussion two days later.

22          While ROGERS originally suggested that they target the California Governor’s mansion, he

23 shifted his focus to the Democratic Party headquarters in Sacramento, California. Id. On November 27,

24 2020, ROGERS sent Copeland a link to a map detailing the location of the Party headquarters. PSR

25 ¶ 13. That map is depicted below:

26

27

28

     U.S. SENTENCING MEMORANDUM                         3
     21-CR-274 CRB
             Case 3:21-cr-00274-CRB Document 68 Filed 09/21/22 Page 4 of 16




 1

 2

 3

 4

 5

 6

 7

 8

 9         ROGERS and Copeland then had the following exchange showing detailed planning by

10 ROGERS, again using an encrypted messaging application:

11                 Rogers        Numero uno
                   Copeland      Right next to CHP
12                 Copeland      gotta be cautious
                   Rogers        Only take 3 minutes
13                 Rogers        Take a brick break a window pour gas in and light
                   Copeland      Yeah still though
14                 Rogers        I think I’ll do a drive bye and unload a couple drums into that commie
                                 building
15                 Copeland      Lol
                   Rogers        Quick and easy and a fire department is near bye so I don’t think a fire
16                               will be effective
                   Rogers        150 rounds shot into building will destroy it
17                 Copeland      Yeah true
                   Rogers        And a couple pipe bombs
18                 Copeland      That pipe bomb that shit

19 Id. The next day, ROGERS again raised the topic of attacking the Party headquarters, and again he used

20 the encrypted messaging application:

21                 Rogers        So I’ve been thinking about that target in Sacramento , because the chipy
                                 station is so close we should fire bomb the place that will be quiet
22                 Rogers        But I’m thinking a keg of gas like 17 gallons of gas
                   Copeland      Yeah no bullets
23                 Copeland      That’s a better plan
                   Rogers        Guns are too loud with that chippy station so close
24                 Rogers        17 gallons of gas that place will burn good

25 PSR ¶ 14. ROGERS and Copeland continued to discuss the plan over the next couple days. On

26 November 29, 2020, ROGERS initiated the conversation, on the encrypted app:

27                 Rogers        After work tomorrow I’ll got to sac and do some recon
                   Copeland      Really?
28                 Rogers        I’ll scope things out take pictures

     U.S. SENTENCING MEMORANDUM                        4
     21-CR-274 CRB
             Case 3:21-cr-00274-CRB Document 68 Filed 09/21/22 Page 5 of 16




 1                 Rogers        I had a better idea , 4x 5 gallon gas can plastic you can buy anywhere
                                 break a window throw them inside and light boom
 2                 Rogers        I’ll be in and out in probably 3 minutes
                   Copeland      That sounds good bro but let’s just take it day by day wait until we see
 3                               what Trump has planned
                   Copeland      If we see he can’t win we strike
 4                 Rogers        I’ll do some recon and get ready
                   Copeland      Ok bro
 5

 6 PSR ¶ 15. On November 30, 2020, ROGERS again raised the issue:

 7                 Rogers        Let’s see what happens if they steal the election let’s hit Sacramento it will
                                 be fun
 8                 Rogers        I’m so ready to attack those fucks
                   Rogers        I have the plan down pat
 9                 Copeland      Ok bro let’s wait and see
                   Copeland      If they don’t listen to trump they will hear us
10                 Rogers        Roger
                   Rogers        We need to hit those scumbags
11                 Copeland      Yep
                   Rogers        Roger
12                 Rogers        We hit that office people might wake up
                   Copeland      I think it will take more than that and we will get tagged as domestic
13                               terrorists
                   Rogers        Like I care what we are labeled
14                 Rogers        We are right they are wrong period
                   Rogers        75 million people are pissed so we act out so what
15                 Rogers        I just hope our actions will make others to get involved , we need help ,
                                 that’s all I hope for
16                 Copeland      [thumbs up emoji] that’s what every patriot hopes
                   Rogers        Let’s see what happens but I’m ready to strike , to be honest I’ve had
17                               enough of those assholes, they need to have some payback
                   Rogers        Wolverines!!!
18
19 PSR ¶ 16.

20          The next day, ROGERS asked Copeland, “Do you think something is wrong with me how I’m

21 excited to attack the democrats?” ROGERS also mentioned his plan to his former sister-in-law. He told

22 her, “I want to hit the Democratic office in Sacramento”. “Ugh it won’t do any good,” “You’ll get

23 caught,” she warned. “You gotta get that out of your head” she said. PSR ¶ 17.

24          As the January 6, 2021 certification of the election results drew near, ROGERS and Copeland

25 again discussed their plan and the reasons for taking action. PSR ¶ 18. On January 4, 2021, they had

26 the following exchange, initially using SMS, and then switching over to an encrypted messaging

27 application (“our secure way”):

28                 Copeland      Well it will probably happen and we will become outlaws for real
                   Copeland      I’ve accepted it
     U.S. SENTENCING MEMORANDUM                        5
     21-CR-274 CRB
              Case 3:21-cr-00274-CRB Document 68 Filed 09/21/22 Page 6 of 16




 1                  Rogers         I can’t take 2 stolen elections in a row
                    Copeland       I got my zip tie handcuffs in today just in case got a 10 pack
 2                  Rogers         Are we the only patriots in the nation?
                    Rogers         I don’t get this? It’s baffling
 3                  Rogers         We might have to be the ones to wake people up, everyone else are pussys
                                   and sleep
 4                  Copeland       There are some in our group
                    Rogers         I just don’t know how to fight such powerful people
 5
                    ***
 6                  Copeland       It’s gonna be hard
                    Copeland       Gotta [be] smart
 7                  Rogers         We have so many enemy’s
                    Rogers         I think the only answer is guerrilla warfare
 8                  Rogers         Surgical strikes to each infrastructure
                    Copeland       Heads must be taken
 9                  ***
                    Copeland       I don’t like to think it but I think we will have to die for what we believe
10                                 in
                    ***
11                  Rogers         We need help though and I don’t know how to get more people involved
                    Rogers         We would need thousands of people
12                  Copeland       Proud boys and 3%
                    Copeland       I emailed proud boys
13                  Rogers         Let’s talk more in person and our secure way
                    Copeland       Copy
14

15 PSR ¶ 18.

16           In that part of the conversation, Copeland said he had gotten a 10-pack of zip tie handcuffs “just

17 in case.” Law enforcement seized that 10-pack of handcuffs from him when they searched his residence

18 on July 14, 2021. In addition, Copeland told ROGERS that he had emailed the Proud Boys, in response
19 to ROGERS’s statement that they needed to enlist more people to join them in forming a force for

20 guerilla warfare. Id. Evidence on Copeland’s computer revealed that he contacted—or tried to

21 contact—the Proud Boys through their website on December 28, 2020. When ROGERS and Copeland

22 switched over to their encrypted messaging application, they continued the conversation of enlisting

23 others:

24                  Rogers         We need to recruit more people bro
                    Rogers         You and I can only do so much
25                  Copeland       I know
                    Copeland       I’m working on it
26                  Rogers         Roger
                    Rogers         I just can’t believe more people are not as fired up as we are it’s baffling
27                  Copeland       They are puss
                    Copeland       We are not
28                  Copeland       People are scared man
                    Copeland       I mean we will have to fight the mass
     U.S. SENTENCING MEMORANDUM                           6
     21-CR-274 CRB
                Case 3:21-cr-00274-CRB Document 68 Filed 09/21/22 Page 7 of 16




 1                  Copeland      We are severely outnumbered
                    Rogers        We are but we are willing to fight they are not
 2                  Copeland      True
                    Copeland      But they will turn the police against us
 3                  Rogers        Well it comes down to this do we obey the constitution or bullshit ?
                    Rogers        The constitution has weight , elected ASSFACE’s don’t
 4                  Copeland      True
                    Copeland      But remember WE ARE THE OUTLAWS
 5                  Copeland      civil war is the only option
                    Rogers        Outlaws and freedom fighters are the same thing depending on your
 6                                viewpoint
                    Rogers        That’s a fact
 7                  Rogers        And also terrorists
                    Rogers        But in reality we are patriots
 8

 9 PSR ¶ 18.

10          On January 10, 2021, ROGERS again raised the topic of attacking Democrats. PSR ¶ 21.

11 As before, he used an encrypted messaging application to carry on the discussion. Id. ROGERS told

12 Copeland, “We can attack Twitter or the democrats you pick” and “I think we can attack either easily”

13 shortly after Twitter had suspended Donald Trump’s Twitter account. Id.

14          The next day, January 11, 2021, ROGERS started the conversation again:

15                  Rogers        I want to blow up a democrat building bad
                    Copeland      Lol
16                  Copeland      I know

17                  ***
                    Rogers        The democrats need to pay
18                  Copeland      It’s gonna crash bro
                    Copeland      Corporate America is gonna die
19                  Rogers        Let’s see what happens, if nothing does I’m going to war
                    Rogers        Democrats, Twitter, etc
20                  Rogers        I hope 45 goes to war if he doesn’t I will 1
                    Copeland      I’m with you
21                  Copeland      So is America bro we are just waiting
                    Rogers        Let’s see what happens then we act
22                  Copeland      Copy
                    Copeland      I’m with you brother
23                  Rogers        I’m thinking sac office first target
                    Rogers        Then maybe bird and face offices
24                  Rogers        Sad it’s come to this but I’m not going down without a fight
                    Rogers        These commies need to be told what’s up
25                  Copeland      I agree
                    Copeland      Plan attack
26                  Rogers        Let’s see what happens then we act

27

28          1
                    “45” appears to be a reference to Donald Trump, the 45th President of the United States.
     U.S. SENTENCING MEMORANDUM                         7
     21-CR-274 CRB
             Case 3:21-cr-00274-CRB Document 68 Filed 09/21/22 Page 8 of 16




 1 Id.

 2         Law enforcement arrested ROGERS on January 15, 2021, just five days before Inauguration

 3 Day. PSR ¶ 11. They had received an anonymous tip that ROGERS was stockpiling weapons,

 4 including illegal machine guns. PSR ¶ 7. During the search of ROGERS’s home and business, law

 5 enforcement located five completely assembled pipe bombs and approximately 48 firearms, four of

 6 which appeared to be fully automatic. PSR ¶ 11. ROGERS was arrested on weapons charges. Id.

 7         During a videotaped interview after ROGERS’ arrest, a Napa Sheriff’s detective asked him if he

 8 had any plans to attack anyone. PSR ¶ 11. ROGERS said, “I’ve thought about it. I’ve thought about

 9 fighting against, fighting back against the government. But it’s always when I’m inebriated. You wake

10 up and you go, ‘It’s not a good idea.’” Id. The detective then asked if ROGERS had any specific plans

11 to do that, and ROGERS responded, “Just, you know, just thoughts. But then you think about what can

12 you do? I don’t want to hurt anybody, you know. I mean maybe if you could attack the right people,

13 you know, but you don’t want to hurt an innocent person” (emphasis added). He went on, “Like people,

14 like you know, people who are really causing problems in this world, like George Soros. I mean, you

15 know, it’s kind of satisfying to think about hurting some scumbag like that” (emphasis added). Id.

16         Additional messages between ROGERS and Copeland evince just how serious they were. On

17 January 8, 2021, they had the following exchange via text messaging:

18                 Rogers        Are you ready?
                   Copeland      I have the gear and the toys so yeah, mentally yeah I’m there I believe
19                 Rogers        Are you ready to leave your wife?
                   Rogers        What I’m talking about we probably will die unfortunately
20                 Copeland      That’s what bothers me, I take care of her so yeah that is hurting me
                   Copeland      When I’m gone the[n] what will she do?
21                 Copeland      She has finally came around to understanding
                   Rogers        Especially they will say we are terrorists
22                 Copeland      She was crying yesterday and said to me ‘please don’t leave me I don’t
                                 know what to do without you’ she was rubbing my back while I was
23                               watching events from the capitol
                   Copeland      She knows how I am and she knows I will put myself in harms way for
24                               what I believe in

25                               [ROGERS then re-iterated they both might die]

26                 Copeland      Yeah no more talk on here delete

27 PSR ¶ 20. This exchange began over ordinary SMS text messaging, not the encrypted messaging app

28 used on other occasions. That’s why, at the end, Copeland told ROGERS they shouldn’t talk about it

     U.S. SENTENCING MEMORANDUM                       8
     21-CR-274 CRB
             Case 3:21-cr-00274-CRB Document 68 Filed 09/21/22 Page 9 of 16




 1 any further using SMS and that they should delete their messages. ROGERS didn’t delete his messages.

 2          During the search of ROGERS’s home and business on January 15, 2021, police seized five

 3 fully-assembled pipe bombs from a gun safe at ROGERS’s business. PSR ¶ 9. The pipe bombs were

 4 constructed from lengths of metal pipes, capped at both ends, and filled with gun powder. Id. Each pipe

 5 bomb had a fuse protruding through one end cap. Id. ATF records indicate that ROGERS did not

 6 register any of the pipe bombs to himself in the National Firearms Registration and Transfer Record. Id.

 7 In his post-arrest interview, ROGERS admitted that he had built the pipe bombs. PSR ¶ 11.

 8          His text messages with other people also indicated the purpose of the pipe bombs. As described

 9 above, ROGERS discussed using the pipe bombs to attack the Democratic Party headquarters in

10 November 2020. PSR ¶ 13. Earlier, on August 16, 2020, ROGERS exchanged messages with his

11 former brother-in-law (Nathan Fall) in which he first sent a picture of a box with five assembled pipe

12 bombs in it (pictured below) and said, “I made these today for when shit hits the fan”; ROGERS then

13 continued, “I figure one pipe could blow up a car pretty good etc”. Fall responded, “Dont tell the

14 protesters that lol!!!” “Haha well they are my targets,” ROGERS said. A few minutes later, ROGERS

15 added, “I want to learn how to make plastique” and “Civil war is coming”:

16

17

18
19

20

21

22

23

24          During the search on January 15, 2021, Napa Sheriff’s deputies seized multiple weapons from
25 ROGERS’s business, including four machine guns:

26              •   A bipod-mounted, belt-fed, open-bolt MG-42 machine gun;
                •   An AK-47 style assault rifle with an under-fold stock, serial no. 436314;
27              •   An AK-47 style assault rifle with a side-fold stock, serial no. K005426; and,
                •   An M-16 style assault rifle, serial no. 2242110.
28

     U.S. SENTENCING MEMORANDUM                          9
     21-CR-274 CRB
             Case 3:21-cr-00274-CRB Document 68 Filed 09/21/22 Page 10 of 16




 1 PSR ¶ 9. The Napa County Sheriff’s armorer examined all four weapons and determined that they were

 2 machine guns, as ROGERS also later admitted.

 3          B.      Victim Impact

 4          Representatives from the California Democratic Party informed the FBI that the Party

 5 headquarters in Sacramento targeted by ROGERS and Copeland is used for many purposes, including

 6 planning interstate travel of Party members, coordinating with the national Democratic Party,

 7 coordinating with party representatives in other states on campaigns in those states and purchasing

 8 advertising to support candidates and promote issues in California and other states. PSR ¶ 13.

 9          The California Democratic Party submitted a Victim Impact Statements to the Court in this

10 matter, emphasizing that the criminal conduct in this case has caused “a chilling effect on people’s

11 willingness to take an active role in the democratic process,” that “employees and volunteers are still

12 scared for their safety when they visit the Party’s headquarters,” and that “the Party expended significant

13 sums of money to increase security at its headquarters . . . to protect the safety of all staff, volunteers,

14 and visitors,” among other things.

15          A representative from the California Democratic Party plans to attend the sentencing hearing and

16 requests to be heard by the Court.

17 III.     DISCUSSION

18          A.      Legal Standard

19          The Court must impose a sentence sufficient, but not greater than necessary, to reflect the

20 seriousness of the offense, deter others from committing similar crimes, protect the public from the

21 defendant, and rehabilitate the defendant. See 18 U.S.C. § 3553(a)(2); United States v. Carty, 520 F.3d

22 984, 991 (9th Cir. 2008). The statute sets forth several factors that the Court must consider in

23 determining a just sentence: (1) the nature and circumstances of the offense and the defendant’s history

24 and characteristics; (2) the purposes of sentencing; (3) the kinds of sentences available; (4) the

25 Guidelines range for sentences; (5) any pertinent policy statements; (6) the need to avoid unwarranted

26 sentencing disparities; and (7) the need to provide restitution to any victims of the offense. 18 U.S.C.

27 § 3553(a); Carty, 520 F.3d at 991. The sentence should reflect the seriousness of the offense, promote

28 respect for the law, provide just punishment to the offender, deter the defendant and others from

     U.S. SENTENCING MEMORANDUM                           10
     21-CR-274 CRB
             Case 3:21-cr-00274-CRB Document 68 Filed 09/21/22 Page 11 of 16




 1 committing similar crimes in the future, and protect the community from future crimes of the defendant.

 2 18 U.S.C. § 3553(a)(2).

 3           The Guidelines should be the starting point and the initial benchmark. Gall v. United States, 552

 4 U.S. 38, 49 (2007). Though the guidelines are not binding, they “reflect a rough approximation of

 5 sentences that might achieve section 3553(a)’s objectives.” Rita v. United States, 551 U.S. 338, 350

 6 (2007).

 7           B.     Guidelines Calculation

 8           The parties’ plea agreement sets forth the below Guidelines range. Plea Agmt. (Dkt. No. 62) ¶ 7.

 9 Although ROGERS’s criminal history does not include any prior convictions, applying § 3A1.4

10 automatically increases ROGERS’s criminal history category to VI under the Guidelines. See U.S.S.G.

11 § 3A1.4(b). Under the parties’ agreed-upon Guidelines calculation, the sentencing range is as follows:

12            Base Offense Level, U.S.S.G. § 2K1.4(a)(2)                             20
13            Terrorism Enhancement, U.S.S.G. § 3A1.4                              +12
              Acceptance of Responsibility, U.S.S.G. § 3E1.1                         -3
14
              Adjusted Offense Level                                                 29
15            Criminal History Category                                              VI
16            Sentencing Range                                                 151-188

17           Although the government stands by the parties’ agreed-upon Guidelines calculation in the plea
18 agreement, the government does not object (and the defense did not object) to the Guidelines calculated
19 by Probation in the PSR: a base offense level of 18 under U.S.S.G. § 2K2.1(a)(5), a four-level increase

20 for 8–24 firearms under 2K2.1(b)(1)(B), a two-level increase for destructive devices under

21 2K2.1(b)(3)(B), a twelve-level increase for terrorism under 3A1.4(a), and a three point reduction for

22 acceptance of responsibility, for a total offense level of 33:

23
              Adjusted Offense Level                                                 33
24            Criminal History Category                                              VI
25            Sentencing Range                                                 235-293

26

27

28

     U.S. SENTENCING MEMORANDUM                          11
     21-CR-274 CRB
             Case 3:21-cr-00274-CRB Document 68 Filed 09/21/22 Page 12 of 16




 1                  1.      The Terrorism Enhancement Applies

 2          The Guidelines provide for a 12-point enhancement “[i]f the offense is a felony that involved, or

 3 was intended to promote, a federal crime of terrorism.” U.S.S.G. § 3A1.4. A federal crime of terrorism

 4 is an enumerated crime “calculated to influence or affect the conduct of government by intimidation or

 5 coercion, or to retaliate against government conduct.” 18 U.S.C. § 2332b(g)(5)(A). Destruction of a

 6 building used in interstate commerce, in violation of 18 U.S.C. § 844(i), is one of the offenses

 7 enumerated in § 2332b(g)(5). Conspiracy to commit that offense, in violation of 18 U.S.C. § 844(n), is

 8 an offense that involves or is intended to promote an enumerated offense. United States v. Mandhai,

 9 375 F.3d 1243, 1247–48 (11th Cir. 2004) (Section 844(n) supports application of Guidelines § 3A1.4).

10          In this case, ROGERS and Copeland specifically intended to influence or affect the conduct of

11 government by intimidation or coercion, or to retaliate against the government. United States v.

12 Alhaggagi, 978 F.3d 693, 700 (9th Cir. 2020); United States v. Tankersley, 537 F.3d 1100, 1113 (9th

13 Cir. 2008). The focus of this analysis is the intended offense itself, not the defendant’s rationale.

14 Alhaggagi, 978 F.3d at 700. In Alhaggagi, the Ninth Circuit found that, while opening six social media

15 accounts for ISIS supporters did not support application of § 3A1.4’s terrorism enhancement, other acts

16 like “conspiring to bomb a federal facility, planning to blow up electrical sites, attempting to bomb a

17 bridge, or firebombing a courthouse” would support that enhancement. Id. at 702.

18          In his plea agreement, ROGERS agreed that § 3A1.4 applies. Plea Agmt ¶ 7. Indeed,

19 ROGERS’s conduct satisfies § 3A1.4’s requirements, as described in more detail in the discussion

20 below about the nature and circumstances of the offense. The Court should find that § 3A1.4 applies—

21 as the parties and Probation agree—and increase ROGERS’s offense level by 12 points.

22                  2.      ROGERS May Be Entitled to Acceptance Points

23          The Guidelines provide for a three-level deduction for acceptance of responsibility under

24 U.S.S.G. § 3E1.1. ROGERS is entitled to that deduction as the government has agreed if, at sentencing,

25 he manifests genuine acceptance of responsibility. Though “[t]he factual inquiry required by the

26 guidelines does not require a penetrating judicial examination of the criminal’s soul,” United States v.

27 Vance, 62 F.3d 1152, 1158 (9th Cir. 1995), it is also true that merely pleading guilty without also

28 expressing remorse or contrition may provide a basis for denying § 3E1.1’s deduction, United States v.

     U.S. SENTENCING MEMORANDUM                          12
     21-CR-274 CRB
             Case 3:21-cr-00274-CRB Document 68 Filed 09/21/22 Page 13 of 16




 1 Rosales, 917 F.2d 1220, 1222-23 (9th Cir. 1990) because it tends to indicate that the offender has not

 2 truly renounced the conduct for which he stands convicted, and this makes him a greater danger to the

 3 community in the future.

 4          The Court may recall that ROGERS’s admissions at the time of his guilty plea appeared

 5 somewhat reluctant: while he admitted that he had done and said all of the things set forth in the plea

 6 agreement, he hesitated as to whether what he had done was criminal. If this attitude continues to show

 7 at sentencing, it evinces a defiance that undermines true acceptance of responsibility. Accordingly,

 8 though the government has included the full deduction in its Guidelines calculation, it reserves the right

 9 to argue that the deduction under § 3E1.1 should not apply if ROGERS fails to truly accept

10 responsibility for his actions.

11          C.      Plea Agreement

12          The parties agreed to a binding resolution under Federal Rule of Criminal Procedure 11(c)(1)(C),

13 with a sentencing range of 84–108 months (7–9 years) of imprisonment. The Court must decide

14 whether to accept or reject the parties’ agreement. Fed. R. Crim. Proc. 11(c)(3)(A). The Court has

15 broad discretion to accept or reject the plea agreement. United States v. Harris, 679 F.3d 1179, 1182

16 (9th Cir. 2012). The Court should consider whether the negotiated sentence “is too lenient or otherwise

17 not in the public interest in light of the factual circumstances specific to the case.” Id.; see also United

18 States v. Miller, 722 F.2d 562, 565 (9th Cir. 1983) (categorical rules regarding acceptance or rejection of
19 plea agreements are improper).

20          The government believes that the negotiated sentence is appropriate and respectfully requests

21 that the Court accept the agreement.

22          D.      The Court Should Impose a 108-Month (9 Year) Sentence of Imprisonment

23          The government respectfully recommends that the Court impose a sentence of 108 months (9

24 years) of imprisonment, followed by three years of supervised release; this is at the high end of the

25 parties’ agreed-upon sentencing range in the Rule 11(c)(1)(C) agreement, but below the Sentencing

26 Guidelines calculated by the parties and by Probation. ROGERS stands convicted and faces sentencing

27 for the things described above that he did—not the things he thought. He has repeatedly described

28

     U.S. SENTENCING MEMORANDUM                           13
     21-CR-274 CRB
                Case 3:21-cr-00274-CRB Document 68 Filed 09/21/22 Page 14 of 16




 1 himself as a political prisoner to his friends and relatives. 2 But as ROGERS well knows, he faces a

 2 substantial prison sentence because he plotted violent acts against others, and because he possessed a

 3 stockpile of illegal weapons and explosives that he contemplated using in his attacks.

 4          The nature and circumstances in this case confirm that this was a very serious offense warranting

 5 the government’s recommended sentence of imprisonment. ROGERS and Copeland targeted the

 6 headquarters of one of the United States’ two major political parties following a presidential election.

 7 The party headquarters were a proxy for the government itself. And ROGERS’s and Copeland’s intent,

 8 as they themselves said, was to carry out violent attacks that would make members of that political party

 9 afraid to remain in office. They also intended their attacks—against one of the two major political

10 parties and social media companies they perceived as aligned with that party—to inspire others to

11 commit similar acts of violence against those same targets. This evinces an intent to influence or affect

12 the conduct of government through intimidation and coercion. ROGERS and Copeland in fact

13 contemplated that their actions would be viewed as acts of terrorism. On November 30, 2020, Copeland

14 predicted that “we will get tagged as domestic terrorists,” and ROGERS responded, “Like I care what

15 we are labeled”.

16          Indeed, both ROGERS and Copeland expressed anger that, in their view, the government had

17 done little to curb the protests in the summer of 2020 while reacting harshly to the persons who staged

18 the attack on the Capitol on January 6, 2021. This retaliatory motive is evident in Copeland’s statements
19 that he and ROGERS wanted “payback” against the government for what they perceived as the disparate

20 treatment groups received by those on opposite sides of the political spectrum. Indeed, ROGERS said

21 “they need to have some payback” when speaking of their plan to strike at a target affiliated with the

22 Democratic party.

23          As for ROGERS’s history and characteristics, ROGERS abused alcohol and both ROGERS and

24 Copeland abused steroids. The two men spoke about steroids frequently, and in late-December 2020,

25

26          2
            In a January 27, 2021 video visit with his ex-wife, ROGERS said “the Democrats are going to
27 war  against me.” In another call with her that same day, ROGERS pointed out that there were no
   federal charges against him until the new administration took over (within 12 days of his arrest, which
28 had nothing to do with who held office before or after the inauguration), and that “it’s all political.” In a
   call with his ex-wife’s sister on February 2, 2021, ROGERS repeated that “it’s all politics.”
     U.S. SENTENCING MEMORANDUM                          14
     21-CR-274 CRB
                Case 3:21-cr-00274-CRB Document 68 Filed 09/21/22 Page 15 of 16




 1 they ordered multiple substances, including testosterone, oxandrolone, and methandienone from an

 2 overseas vendor. Steroids increase irritability and aggression: “People who misuse anabolic steroids

 3 report more anger than nonusers, as well as more fights, verbal aggression, and violence toward their

 4 significant others, sometimes called ‘roid rage.’” 3 Copeland’s own statements show that the steroids

 5 had the same mood-altering effects the studies described above found. On January 13, 2021, he told

 6 ROGERS (following another discussion about the political situation in the United States), “the roids

 7 make me very angry.” During searches of ROGERS’s business on January 15, 2021, and Copeland’s

 8 home on January 17, 2021, agents found steroids. The agents seized the steroids they found at

 9 Copeland’s home. A lab later confirmed that Copeland had both testosterone liquid and oxandrolone

10 tablets. Agents returned to ROGERS’s business in April 2021 and located and seized his steroids (he

11 had been in custody since January, so the steroids were still where agents had seen them before). Those

12 have not been laboratory-tested, but they also appeared to be vials of testosterone, similar to what agents

13 seized from Copeland.

14          While ROGERS has no prior criminal convictions, it is notable that he was arrested on August

15 18, 2020 for domestic abuse, in which he and his current wife got into an altercation that became

16 physical and spilled out into the front yard, and one of the neighbors called police. In SMS messages

17 with his ex-wife a month later, ROGERS said, “I hate this town I’ll be happier away from the n****rs

18 etc in Berryessa I’ll see beauty every day, and I’m sick of my stupid g**k neighbors”. He then said, “I
19 can’t forgive them for calling the cops on my numerous times over bullshit” and “Typical Asian

20 assholes, they only care about themselves and they’re families”. ROGERS’s ex-wife responded, “In the

21 neighbor’s defense, if I saw some Russian lady screaming to call the police and you all buffed looking

22 like Arnold shuffling around with her, I’d think you were being violent. . . . Hopefully you can try to

23 control your temper so that kind of thing never happens again.”

24

25          3
            See “Steroids and Other Appearance and Performance Enhancing Drugs (APEDs) Research
26 Report,” Nat’l Inst. On Drug Abuse (rev. Feb. 2018) at 14, available at
   https://www.drugabuse.gov/download/815/steroids-other-appearance-performance-enhancing-drugs-
27 apeds-research-report.pdf (last visited July 14, 2021). The report notes that the research results may be
   confounded by personality traits more common among steroid abusers. In other words, it’s difficult to
28 tell whether steroids make steroid users more prone to violence, or if people who are more prone to
   violence tend to seek out steroids.
     U.S. SENTENCING MEMORANDUM                         15
     21-CR-274 CRB
             Case 3:21-cr-00274-CRB Document 68 Filed 09/21/22 Page 16 of 16




 1          Finally, the need for just punishment and deterrence against political violence merits the

 2 government’s recommended sentence. Whether ROGERS was a right-wing or left-wing extremist does

 3 not matter here: simply put, he was an extremist who got within a few days of committing acts of

 4 violence to try to enforce his political views on others, and that is conduct that must be condemned with

 5 severe consequences. Indeed, there is a great need for the sentence in this case to send a message to

 6 anyone who would conspire to commit any political violence.

 7          Here, the parties agreed to a sentence of between 84 and 108 months, which is below the agreed-

 8 upon Guidelines and the Guidelines calculated in the PSR by Probation. The government agreed to a

 9 sentence in this range in view of ROGERS’ lack of criminal history, and because no one got hurt and no

10 structures were destroyed. Law enforcement intervened before—likely just a few days before—

11 ROGERS and Copeland carried out their attack. Their offense is no less real, but (despite Copeland’s

12 efforts to enlist others) they appear to have been a conspiracy of two and timely law enforcement

13 intervention eliminated the threat they posed.

14 IV.      CONCLUSION

15          For the foregoing reasons, the government asks that the Court accept the parties’ plea agreement

16 and sentence ROGERS to 108 months (9 years) in prison, followed by three years of supervised release

17 on the conditions Probation recommends, and including the condition that he not use any steroids or

18 other illegal controlled substances except with a doctor’s prescription.
19

20 DATED: September 21, 2022                                     Respectfully submitted,

21                                                               STEPHANIE M. HINDS
                                                                 United States Attorney
22

23
                                                                        /s/
24                                                               FRANK RIEBLI
                                                                 ERIC CHENG
25                                                               Assistant United States Attorneys
26

27

28

     U.S. SENTENCING MEMORANDUM                         16
     21-CR-274 CRB
